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          EXHIBIT 10
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                                 IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TENNESSEE
                                           EASTERN DIVISION

    CONSOLIDATED INDUSTRIES, LLC                       )
    d/b/a WEATHER KING PORTABLE                        )
    BUILDINGS,                                         )
                                                       )
                Plaintiff,                             )
                                                       )   Civil Action No. l:22-cv-01230
    v.                                                 )
                                                       )
    JESSE A. MAUPIN, BARRY D.                          )
    HARRELL, ADRIAN S. HARROD,                         )
    LOGAN C. FEAGIN, STEPHANIE L.                      )
    GILLESPIE, RYAN E. BROWN, DANIEL                   )
    J. HERSHBERGER, BRIAN L. LASSEN,                   )
    ALEYNA LASSEN, and AMERICAN                        )
    BARN CO., LLC,                                     )
                                                       )
                Defendants.                            )



          AMERICAN BARN CO., LLC'S RESPONSES TO PLAINTIFF S FIRST SET OF
         INTERROGATORIES. REQUESTS FOR PRODUCTION OF DOCUMENTS, AND
                            REQUESTS FOR ADMISSION

           Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, American Barn Co., LLC by and through its

   attorneys, states the following responses.

                                          INTERROGATORIES

            1.        Identify each person or entity who played a role in planning ABCO’s creation or

   formation and, for each such person/entity: (a) set forth the role each person/entity played; and (b)

   set forth the dates in which the person/entity helped plan the creation/formation.

           RESPONSE:

           ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case, nor relevant to ay issue in the case. To collect all of this



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   information would impose an unnecessary burden on ABCO. Subject to and without waiving

   those objections, ABCO states as follows: The following individuals were involved in ABCO’s

   creation - Barry Harrell, Wade Etherington, and Jesse Maupin, who are the owners. ABCO does

   not recall the specific dates.

           2.      Identify each person or entity who has served as an owner or member of ABCO

   and, for each such person/entity: (a) set forth the position/title each person has held; (b) set forth

   the ownership interest each person has held; and (c) set forth the dates in which the person held

   such title and ownership interest.

           RESPONSE:

           ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case, nor relevant to ay issue in the case. To collect all of this

   information would impose an unnecessary burden on ABCO. Subject to and without waiving

   those objections, ABCO states as follows: The individuals listed in the response to Interrogatory

   No. 1 are equal owners of ABCO.

           3.      Identify each person or entity who has lent money to ABCO and, for each such

   person/entity: (a) set forth the nature, purpose, and amount of the loan; (b) set forth the dates of

   each loan; and (c) identify all documents related to the loan.

           RESPONSE:

           ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

           4.     Identify each person or entity who has otherwise invested in or provided financial

   support to ABCO (other than identified in response to the preceding interrogatories) and, with

   respect to each such person/entity: (a) set forth the nature, purpose, and amount of the

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   investment/contribution; (b) set forth the dates of each investment/contribution; and (c) identify

   all documents related to the investment/contribution.

            RESPONSE:

            ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

            5.     Identify each person who has served as an employee of ABCO or an ABCO affiliate

   and who was previously employed by Weather King and, with respect to each such person: (a) set

   forth the person’s employer and position/title; and (b) set forth the dates in which the person has

   held the position/title.

           RESPONSE:

           ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

           6.      Identify each person who was employed by Weather King and who, while still

   employed by Weather King, was approached about the possibility of forming an employment

   relationship or other relationship with ABCO or an ABCO affiliate and, with respect to each such

   person: (a) set forth the dates in which communications took place about the possibility of forming

   a relationship with ABCO or an ABCO affiliate; (b) identify all individuals who communicated

   with that person about the possibility of forming a relationship with ABCO or an ABCO affiliate;

   (c) identify all witnesses to each communication; (d) identify the location and mode of each

   communication (i.e., telephonic conversation, email, text message, etc.); and (e) identify all

   documents relating to each such communication.

           RESPONSE:



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            ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

            7.    Identify each person or entity who has served as an independent contractor of

   ABCO or an ABCO affiliate and who previously served as a Weather King contractor (including

   but not limited to drivers and builders) and, with respect to each such person/entity: (a) identify

   the person/entity’s relationship and role with ABCO or ABCO affiliate; and (b) set forth the dates

   in which the person/entity held the role.

           RESPONSE:

           ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

           8.     Identify each person or entity who served as a Weather King independent contractor

   (including but not limited to drivers and builders) and who, while still a Weather King contractor,

   was approached about the possibility of forming a relationship with ABCO or an ABCO affiliate

   and, with respect to each such person/entity: (a) set forth the dates in which communications took

   place about the possibility of forming a relationship with ABCO or an ABCO affiliate; (b) identify

   all individuals who communicated with that person/entity about the possibility of forming a

   relationship with ABCO or an ABCO affiliate; (c) identify all witnesses to each communication;

   (d) identify the location and mode of each communication (z.e., telephonic conversation, email,

   text message, etc.); and (e) identify all documents relating to each such communication.

           RESPONSE:

           ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case.



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            9.    Identify each person or entity who has served as an AB CO dealer and who

   previously served as a Weather King dealer and, with respect to each such person/entity, set forth

   the dates in which the person/entity has served as an AB CO dealer.

           RESPONSE:

           ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

            10.   Identify each person or entity who served as a Weather King dealer and who, while

   still a Weather King dealer, was approached about the possibility of serving as an ABCO dealer

   and, with respect to each such person/entity: (a) set forth the dates in which communications took

   place about the possibility of serving as an ABCO dealer; (b) identify all individuals who

   communicated with that person/entity about the possibility of serving as an ABCO dealer; (c)

   identify all witnesses to each communication; (d) identify the location and mode of each

   communication (i.e., telephonic conversation, email, text message, etc.); and (e) identify all

   documents relating to each such communication.

           RESPONSE:

           ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

            11.    Identify each rental business (including rent-to-own and consignment) that has

   held a relationship with ABCO and that previously held (or presently holds) a relationship with

   Weather King and, with respect to each such entity, set forth the dates in which the entity has had

   a relationship with ABCO.

           RESPONSE:



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            AB CO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case, nor relevant to any issue in the case. To collect this

   information imposes an unnecessary burden on ABCO. Subject to and without waiving those

   objections, ABCO states as follows: The following rental businesses exist:

           BPS Rentals

           Jade Rentals

           ABCO does not recall the dates.

            12.   Identify each rental business (including rent-to-own and consignment) that held a

   relationship with Weather King and who, while still doing business with Weather King, was

   approached about the possibility of forming a relationship with ABCO and, with respect to each

   such entity: (a) set forth the dates in which communications took place about the possibility of

   forming a relationship with ABCO; (b) identify all individuals who communicated with that entity

   about the possibility of forming a relationship with ABCO; (c) identify all witnesses to each

   communication; (d) identify the location and mode of each communication (z.e., telephonic

   conversation, email, text message, etc.); and (e) identify all documents relating to each such

   communication.

           RESPONSE:

           ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

           13.    Identify each entity that is affiliated with ABCO whether as a parent company,

   subsidiary, or through common ownership and, with respect to each such entity, identify all of its

   owners, shareholders, members, and/or partners.

           RESPONSE:

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           None.

            14.    Identify all property of Weather King (including but not limited to electronically

   stored information) that has been in ABCO’s possession at any time and, with respect to the

   property: (a) identify the circumstances in which it came into your possession; (b) identify all

   persons who accessed or made use of the property; (c) set forth in detail the circumstances in which

   ABCO made use of, copied, or shared the property with anyone else (including but not limited to

   the identity of the person or entity and the date(s) in which the property was shared).

           RESPONSE:

           None.

            15.    Identify each person or entity with whom ABCO has communicated after January

   1, 2022, about the possibility of preparing blueprints, drawings, or other engineering plans

   pertaining to the Portable Buildings Industry.

           RESPONSE:

           Kevin Nolan, Phoenix Engineering, Robertson Engineering, Frost Engineering, Richard

   Steward, EZE Group.

            16.    Identify all communications that you have had with any dealers, builders,

   customers, government officials, architects, engineers, or anyone else relating to Weather King’s

   engineering plans prepared by Kevin Nolan, P.E. and, with respect to each such communication:

   (a) describe in detail the substance of the communication; (b) identify all parties to the

   communication; (c) identify the date of the communication; and (d) identify the mode of the

   communication (z.e., telephonic conversation, email, text message, etc.).

           RESPONSE:

           None.

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               17.     Identity each device in your possession, custody, or control, including but not

      limited to laptop computers, desktop computers, cell phones (including number and provider),

      tablets, or other portable storage devices, that contains or contained any information that refers to,

      relates to, or was created by Weather King.

               RESPONSE:

               None.



                                               VERIFICATION

                                                    , declare under penalty of perjury' that the foregoing

      responses to Plaintiffs First Set of Interrogatories are true and correct to the best of my knowledge,

      information, and belief, and that I am qualified and authorized to make this statement on behalf of

      American Bam Co., LLC.



                                                     AMERIC.

                                                     BY



                                                     DATE:




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          RESPONSE:

          Responsive documents will be produced.

          7.     All correspondence and other documents exchanged with any investors or potential

 investors.

          RESPONSE:

         None.

          8.     All correspondence and other documents exchanged with Virgil W. Etherton

 between January 1, 2021, and July 1, 2022.

         RESPONSE:

         None.

          9.     All correspondence and other documents exchanged with any former Weather King

 employees between January 1, 2022, and July 1, 2022.

         RESPONSE:

         None.

          10.    All correspondence and other documents exchanged with any then-current Weather

 King employees after January 1, 2022.

         RESPONSE:

         None.

          11.    All correspondence and other documents exchanged with any then-current Weather

 King dealers (including but not limited to employees and agents of those dealers) between January

 1, 2022, and July 1, 2022.

         RESPONSE:

         None.

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          12.    All correspondence and other documents exchanged with any then-current Weather

 King builders (including but not limited to employees and agents of those builders) between

 January 1, 2022, and July 1, 2022.

         RESPONSE:

         None.

          13.    All correspondence and other documents exchanged with any then-current Weather

 King customers (including but not limited to employees and agents of those customers) between

 January 1, 2022, and July 1, 2022.

         RESPONSE:

         None.

          14.    All correspondence and other documents exchanged with any then-current Weather

 King drivers (including but not limited to employees and agents of those drivers) between January

 1,2022, and July 1,2022.

         RESPONSE:

         None.

         15.     All correspondence and other documents exchanged with any Portable Buildings

 Industry rental companies and/or rental companies being formed (including but not limited to

 employees and agents of those entities) between January 1, 2022, and July 1, 2022.

         RESPONSE:

         None.

         16.     All correspondence and other documents exchanged with BPS, LLC, BPS Rentals,

 LLC, Keith Priestley, Jerry Sawyer or Troy Buttrey between July 1, 2021, and July 1,2022.

         RESPONSE:

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         None.

          17.    All non-privileged correspondence and other documents related to:

         (a) any of the Defendants’ departure from Weather King;

         (b) any of the Defendants’ communications with any Weather King employees about the

         possibility of leaving Weather King or joining ABCO;

         (c) any of the Defendants’ communications with any Weather King builders, dealers,

         drivers, rental companies, or contractors, about the possibility of doing business with

         ABCO or ceasing doing business with Weather King;

         (d) any claims or potential claims made by Weather King against any of the Defendants;

         (e) any of the Defendants’ possession of or use of any Weather King property; or

         (f) derogatory remarks made by any of the Defendants relating to Weather King;

         RESPONSE:

         None.

          18.    All correspondence and other documents exchanged with any person or entity

 related to the leasing or potential leasing of any property located in Arizona or New Mexico.

         RESPONSE:

         None.

         19.     All minutes of ABCO board of managers or similar governance group meetings.

         RESPONSE:

         None.

         20.     All correspondence and other documents referencing or relating to any Weather

 King drawings, blueprints, or other engineering plans, including but not limited to plans prepared

 by Kevin Nolan, P.E.

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          30.    All documents relating to the number of portable buildings sold by ABCO and its

 revenue and profits from the sale of buildings and other activities in the Portable Buildings

 Industry.

          RESPONSE:

          ABCO objects to this request as unduly broad, overly burdensome, and not proportional to

 the needs of the case.

          31.    All agreements between you and any of the other Defendants.

          RESPONSE:

         None.

         32.     All agreements between you and any dealers, builders, lenders, investors, or rental

 companies in the Portable Buildings Industry.

         RESPONSE:

         None.

         33.     All photographs, video, and/or audio recordings of Weather King property and/or

 current or former Weather King employees or officers.

         RESPONSE:

         None.

         34.     All documents reflecting notes, diaries, journals, expense records, day planners,

 calendars, and/or other record(s) maintained by you that record, refer, or otherwise relate to your

 activities, including, but not limited to any appointment, meeting, interview, placement, or other

 business activities in the Portable Buildings Industry from January 1, 2022, through July 1, 2022.

         RESPONSE: ABCO objects to this interrogatory as unduly broad, overly burdensome,

 and not proportional to the needs of the case, but states as follows:

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          35.    All phone records from January 1,2022, through July 1, 2022, related to any device

 used by any ABCO officer or employee during that time period.

          RESPONSE:

          ABCO objects to this interrogatory as unduly broad, overly burdensome, and not

 proportional to the needs of the case

          36.    All documents supporting or relating to any defenses you intend to assert against

 Plaintiffs claims.

         RESPONSE:

         None.

         37.     All documents referenced in your responses to Plaintiffs interrogatories and/or

 upon which you relied in responding to Plaintiffs interrogatories.

         RESPONSE:

         None.

         38.     All non-privileged communications between you and any of the other Defendants

 pertaining to this lawsuit.

         RESPONSE:

         None.




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